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                   Exhibit A
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                                                                                                  Baker & McKenzie LLP

                                                                                                  815 Connecticut Avenue, N.W.
                                                                                                  Washington, DC 20006-4078
                                                                                                  United States

                                                                                                  Tel: +1 202 452 7000
                                                                                                  Fax: +1 202 452 7074
                                                                                                  www.bakermckenzie.com


Asia Pacific
Bangkok
                            December 19, 2023
Beijing
Brisbane
Hanoi
Ho Chi Minh City
Hong Kong                   Disclosure Manager                                                    Via certified mail
Jakarta
Kuala Lumpur*
Manila*
                            Internal Revenue Service
Melbourne
Seoul
                            GLDS Support Services
Shanghai
Singapore
                            Stop 211
Sydney
Taipei
                            PO Box 621506
Tokyo
Yangon
                            Atlanta, GA 30362-3006
Europe, Middle East
& Africa                    Re: Request Made Under the Freedom of Information Act
Abu Dhabi
Alm aty
Amsterdam
Antwerp                     Dear Disclosure Officer,
Bahrain
Barcelona
Berlin
Brussels                    I am making this request pursuant to or under the Freedom of Information Act, 5 U.S.C. § 552,
Budapes t
Cairo                       as amended. I request that copies of the documents described in section 3 of this letter be
Casablanca
Doha                        provided to me, George M. Clarke.
Dubai
Dusseldorf
Frankfurt/Main
Geneva                      1.       Definitions
Istanbul
Jeddah*
Johannesburg
Kyiv
                            The words “document” or “documents”, as used in this request, should be construed in their
London
Luxem bourg
                            broadest sense to include but not be limited to every draft, original, or non-identical copy
Madrid
Milan
                            (whether different from the original by reason of notations made on such copy or otherwise),
Munic h
Paris
                            regardless of location, of all writings, drawings, graphs, charts, photographs, electronically
Prague
Riyadh*
                            stored data, and other data compilations from which information can be obtained or translated,
Rom e
Stockholm
                            if necessary, through detection devices into reasonably usable form. Any alterations, notes,
Vienna
Wars aw
                            comments, or other material contained thereon or attached thereto not included in any original
Zuric h
                            or other copy shall be deemed a separate document within the foregoing.
The Americas
Bogota
Brasilia**                  2.       Background
Buenos Aires
Caracas
Chicago
Dallas
                            At the American Bar Association Section of Taxation’s Philadelphia Tax Conference, Clifford
Guadalajara
Houston
                            Warren of the Internal Revenue Service (“IRS”) Office of Associate Chief Counsel
Juarez
Lim a
                            (Passthroughs and Special Industries) described a “paper” that he authored, contributed to, or
Los Angeles
Mexico City
                            had some authority over titled or generally referred to as “The Art of the IDR.” See Kristen A
Miam i
Monterrey                   Parillo, IRS Taking Partnership Audits to New Level, Tax Notes (Nov. 15, 2023) (attached).
New York
Palo Alto                   “IDR” stands for “information document request.” Id. This document was likely authored or
Porto Alegre**
Rio de Janeiro**            circulated in 2023.
San Franc isco
Santiago
Sao Paulo**
Tijuana
                            Mr. Warren also stated: “Things have been changing at the IRS, so you’re going to see lots of
Toronto
Washington, DC
                            different sorts of IDRs, different strategies, and a whole new level of partnership audits that are
* Ass ociated Firm
                            supported throughout the entire organization.” See id. He was further cited for the proposition
** In cooperation with
Trench, Ross i e Watanabe
                            that “[t]he IRS will likely come down hard on those who blatantly refuse to comply with
Advogados
                            IDRs, . . . adding that the agency has issued summonses to several taxpayers that chose to
                            ignore IDRs.” Id.



                            Baker & McKenzie LLP is a member of Baker & McKenzie International.
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     3.       Requested Documents
     With the above background information informing your search, I request copies of documents
     whose title or description matches the following:
          a. The “paper” Mr. Warren described on November 14, 2023 as “The Art of the IDR”.
          b. Memoranda, presentations, statements of policy, statements of procedure, and training
             materials created, revised, or updated any time between January 1, 2021 to the date of
             this letter, related to the drafting IDRs for partnerships, other pass-through entities, or
             their owners.
          c. Memoranda, presentations, statements of policy, statements of procedure, and training
             materials created, revised, or updated any time between January 1, 2021 to the date of
             this letter, related to the enforcement of IDRs for partnerships, other pass-through
             entities, or their owners, including but not limited to the use of delinquency letters and
             summonses.
          d. Memoranda, presentations, statements of policy, statements of procedure, and training
             materials created, revised, or updated any time between January 1, 2021 to the date of
             this letter, related to strategies for conducting examinations of partnerships, other pass-
             through entities, or their owners.
     4.       Format for Delivery
     The requested documents should be provided to me in electronic form, such as by email to my
     the email address listed in section 6 below or uploaded to a USB drive sent to the physical
     address listed in section 6 below. If electronic copies are unable to be provided, a paper copy
     of the documents should be sent to the physical address listed in section 6 below.
     If it is determined that any requested document or record, or any portion thereof, will not be
     disclosed, please provide me with the non-exempt documents and records and with the non-
     exempt portions of the remaining documents and records. In the event an exemption is claimed,
     please provide me with all segregable non-exempt portions of any withheld document or record
     pursuant to 5 U.S.C. § 552(b). When material is to be redacted, please “black out” rather than
     “white out” or “cut out” any portions for which an exemption is claimed.
     If records responsive to this request have been destroyed, please identify the documents
     destroyed, the date of destruction, and the person who destroyed the document.
     Pursuant to 5 U.S.C. §§ 552(a)(6)(A)(i) and 552(b), if this request is denied either in part or in
     whole, please provide me with an index that specifies which exemption(s) is (are) being
     claimed for each portion of each document withheld. To the extent materials are withheld,
     please provide a detailed description of each document or record withheld, including the
     author(s) and any recipients, the date of its creation, its subject matter, and its current physical
     location. In addition, please provide the reason that each document or record falls within the
     exemption claimed for it. Please also specify the number of pages in each document or record
     and the total number of pages that are responsive to this request. Such an index is required to



                                                                                                       2
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     allow me to evaluate the IRS’s claims that these documents are exempt from disclosure. See
     Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert. denied, 415 U.S. 977 (1974).
     5.       Expedited Processing, Inspection, Type of Requestor, and Fees
     I do not wish to inspect the documents before receiving them.
     In order to determine my status for the applicability of fees, I am a tax attorney at the law firm
     of Baker & McKenzie LLP. I am a commercial-use requestor under Treas. Reg. §
     601.702(f)(3)(ii)(A), and I am seeking records to learn more about the Internal Revenue
     Service’s practices so that I can better represent my clients.
     I am willing to pay fees of up to $5,000 for this request. If you estimate that the fees will
     exceed that limit, please inform me before taking any action that would require you to charge
     more than $5,000.
     I would like this request to receive expedited processing pursuant to Treas. Reg. §
     601.702(c)(6). I certify that to the best of my knowledge and belief, it is true and correct that
     Mr. Warren’s recent statements suggest that the IRS will be engaging in aggressive
     enforcement activities. Because I represent taxpayers examined by the IRS, I have a
     compelling need to understand how the IRS plans to impose on my clients so that I can
     effectively advise them and protect their rights.
     6.       My Contact Information
     I, George M. Clarke, am the requestor. The requestor’s name and physical address is:
              George M. Clarke
              Baker & McKenzie LLP
              815 Connecticut Ave., N.W.
              Washington, D.C. 20006
     Additional contact information for the requestor is below:

          •   Email address: george.clarke@bakermckenzie.com

          •   Fax number: 202-416-7184
          •   Phone number: 202-835-6184
     I would appreciate a response to this request within twenty working days, as provided by 5
     U.S.C. § 552(a)(6)(A)(i).
     Thank you for your attention with this matter. Please do not hesitate to contact me with any
     questions.




                                                                                                     3
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     Best regards,



     George M. Clarke
     Partner
     +1 202 835 6184
     george.clarke@bakermckenzie.com


     Encl.


     Cc:          Joy Williamson
                  Sonya C. Bishop
                  Baker McKenzie




                                                                  4
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                                                                                                  DOC 2023-33054




IRS Taking Partnership Audits to New Level
Posted on Nov. 15, 2023


By Kristen A. Parillo


The IRS’s audits of large partnerships will hit a whole new level with a strategy that includes a new
mega passthroughs unit and a fresh approach to information document requests, according to an




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official.

Clifford Warren of the IRS Office of Associate Chief Counsel (Passthroughs and Special Industries)
described his office’s involvement in the compliance crackdown on large corporations and
partnerships and high-income earners during the American Bar Association Section of Taxation’s
Philadelphia Tax Conference November 14.

As detailed in a September 8 release, the IRS Large Business and International Division will audit 75
of the country’s largest partnerships under an initiative launched in October 2021 that applies to
partnerships with more than $10 million in assets. The agency said it will also mail compliance
letters to 500 large partnerships that have ongoing balance sheet discrepancies.

To support the IRS’s increased enforcement and audit coverage of large partnerships and complex
arrangements involving passthrough entities, the agency announced September 20 that LB&I is
forming a new unit dedicated to passthrough issues.

The mega passthrough organization will be highly specialized, Warren said. “It’s going to be much
more efficient for us,” he said, explaining that previously there was only some partnership expertise
within LB&I and the Small Business/Self-Employed Division. “That’s being combined, and they’re
hiring a lot of new people,” he added.

“We are getting billion-dollar partnership cases sent to us on almost a weekly basis now,” Warren
said, adding that chief counsel is now involved from the beginning of the audit phase when IDRs are
issued. “My last paper that went around was ‘The Art of the IDR,’” he said.

“Things have been changing at the IRS, so you’re going to see lots of different sorts of IDRs, different
strategies, and a whole new level of partnership audits that are supported throughout the entire
organization,” Warren said.


                                              Don’t Ignore

Warren asked the audience to pass along a message to other tax advisers and their clients: “You
ought to answer an IDR.”

“People are now so brazen that they just say, ‘Nah, you have that,’ or ‘We’re not giving it to you,’”
Warren said. “That sets a really bad tone. We are seeing that on billion-dollar cases for Fortune 500
companies — it’s shocking.”



                                                                                                 Pages 1 of 2
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                                                                                            DOC 2023-33054


The IRS will likely come down hard on those who blatantly refuse to comply with IDRs, Warren said,
adding that the agency has issued summonses to several taxpayers that chose to ignore IDRs.

Warren couldn’t say whether tax professionals should expect to see summons enforcement cases
dealing with those situations, but he explained that the IRS hopes that taxpayers who receive a
summons understand that the agency means business and produce the requested information.

“There’s one taxpayer that may never comply, so we’ll see what happens,” Warren said.




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                                                                                           Pages 2 of 2
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                   Exhibit B
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            Department of the Treasury                           Date:

            Internal Revenue Service                             January 9, 2024
            Privacy, Governmental Liaison and                    Employee name:

            Disclosure                                           Fatima Merriam
            GLDS Support Services                                Employee ID number:

            Stop 93A                                             1000226048
            PO Box 621506                                        Telephone number:

            Atlanta, GA 30362                                    206-946-3528
                                                                 Fax number:

            George M. Clarke                                     855-205-9335
                                                                 Case number:
            Baker & McKenzie LLP
            815 Connecticut Ave. N.W.                            2024-06232
            Washington, DC 20006

Dear George M. Clarke:

This letter acknowledges your Freedom of Information Act (FOIA) request we received on
January 2, 2024. The initial estimated date of completion for your request is January 31, 2024.

Please be advised that if the records you seek are tax related, any records previously submitted
by a taxpayer to the Internal Revenue Service will not be considered within the scope of your
request unless you advise us to the contrary in writing.

You asked us to expedite the processing of your FOIA request. We’re denying your request for
expedited processing. The circumstances you described don’t meet the criteria for a compelling
need and/or you did not certify the criteria to be true and correct.

The FOIA allows expedited processing when a requester demonstrates a compelling need for the
information. A compelling need is present when:

   •   Failure to obtain the records on an expedited basis could pose an imminent threat to an
       individual’s life or physical safety,
   •   There is an urgent need to tell the public about actual or alleged federal government
       activity, if made by a person whose main professional activity is disseminating
       information to the public,
   •   Failure to obtain the records may cause a loss of substantial due process rights.

We’ll search for the requested documents. We’re required to review all documents prior to
release. We’ll notify you in writing if we need additional time.

If you want reconsideration for expedited processing, submit a statement describing the
compelling need and mail to the address in the upper left-hand corner of this letter. You must
also certify that your statement is true and correct to the best of your knowledge and belief. To
do this, include a declaration such as: I certify under penalty of perjury that the information is
true and correct to the best of my knowledge.
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We are not considering your request for an index of the deleted material, sometimes referred to
as a Vaughn Index, because it would require creation of personalized and specific statements.
The FOIA gives individuals access rights to existing agency records and FOIA case law doesn’t
require agencies to produce indices in processing FOIA requests.


If you have questions regarding the processing of your FOIA request, please contact the
caseworker assigned to your case at the phone number listed at the top of this letter.

If you are not able to resolve any concerns you may have regarding our response with the
caseworker, you have the right to seek dispute resolution services by contacting our FOIA Public
Liaisons at 312-292-3297. The FOIA Public Liaison is responsible for assisting in reducing
delays, increasing transparency, and assisting in the resolution of disputes with respect to the
FOIA.

There is no provision for the FOIA Public Liaison to address non-FOIA concerns such as return
filing and other tax-related matters or personnel matters. If you need assistance with tax-related
issues, you may call the IRS at 800-829-1040.

                                                             Sincerely,


                                                             Jeremy Woods
                                                             Disclosure Manager
                                                             Disclosure Office 13
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Case 1:24-cv-00783-BAH Document 1-1 Filed 03/18/24 Page 12 of 16
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                   Exhibit C
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            Department of the Treasury                           Date:

            Internal Revenue Service                             January 30, 2024
            Privacy, Governmental Liaison and                    Employee name:

            Disclosure                                           Fatima Merriam
            GLDS Support Services                                Employee ID number:

            Stop 93A                                             1000226048
            PO Box 621506                                        Telephone number:

            Atlanta, GA 30362                                    206-946-3528
                                                                 Fax number:

            George M. Clarke                                     855-205-9335
                                                                 Case number:
            Baker & McKenzie LLP
            815 Connecticut Ave. N.W.                            2024-06232
            Washington, DC 20006

Dear George M. Clarke:

This is in response to your Freedom of Information Act (FOIA) request we received on
January 2, 2024.

You asked for a copy of the following:

"The paper" described on the "The Art of IDR" authored by IRS Chief Counsel Clifford Warren.

Memoranda, presentations, statements of policy, statements of procedure, and training materials
created, revised, or updated any time between January 1, 2021 to the date of this letter, related to
the drafting & enforcement IDRs for partnerships, other pass-through entities, or their owners
and strategies for conducting exam of partnerships, pass-through entities, and or their owners.

"The paper" described on the "The Art of IDR".

We’re unable to provide the information you requested by January 31, 2024, which is the 20
business-day period required by law for us to respond.

In certain circumstances, the FOIA allows for an additional 10-day statutory extension. I need
additional time to:

☒ Search for and, to the extent that records exist, collect requested records from other locations,

☐ Review a large volume of records,

☐ Consult with another agency and/or two or more Treasury components.

As part of this extension, the statutory response date will be extended to February 14, 2024.
Unfortunately, we will still be unable to respond to you by the extended statutory response date.
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We expect to provide a final response to your request by April 30, 2024. You don’t need to reply
to this letter if you agree to this extension. Please consider contacting me to arrange an
alternative timeframe for processing the request or limiting the scope of your FOIA request,
which may reduce the timeframe in processing your request.

Pursuant to 26 CFR § 601.702, there is no right to an administrative appeal for failure to meet the
statutory 20 business-day, or additional 10 business-day, timeframes for response.

However, you do have the right to file suit for a judicial review. You can file suit after
February 14, 2024. File your suit in the U.S. District Court:

      Where you reside or have your principal place of business,
      Where the records are located, or
      In the District of Columbia

Rule 4(i)(1)(C), of the Federal Rules of Civil Procedure, requires you to send the IRS a copy of
the summons and complaint as well as to the Attorney General and the United States Attorney
for the district in which the action is brought. You must send the IRS copies, by registered or
certified mail, to:

                                Commissioner of Internal Revenue
                                   Attention: CC: PA: Br 6/7
                                 1111 Constitution Avenue, NW
                                    Washington, D.C. 20224

We apologize for any inconvenience this delay may cause.

If you have questions regarding the processing of your FOIA request, please contact the
caseworker assigned to your case at the phone number listed at the top of this letter.

If you are not able to resolve any concerns you may have regarding our response with the
caseworker, you have the right to seek dispute resolution services by contacting our FOIA Public
Liaisons at 312-292-3297. The FOIA Public Liaison is responsible for assisting in reducing
delays, increasing transparency, and assisting in the resolution of disputes with respect to the
FOIA.

There is no provision for the FOIA Public Liaison to address non-FOIA concerns such as return
filing and other tax-related matters or personnel matters. If you need assistance with tax-related
issues, you may call the IRS at 800-829-1040.

You also have the right to contact the Office of Government Information Services (OGIS). The
Office of Government Information Services, the Federal FOIA Ombudsman’s office, offers
mediation services to help resolve disputes between FOIA requesters and federal agencies. The
contact information for OGIS is:
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              Office of Government Information Services
             National Archives and Records Administration
                      8601 Adelphi Road--OGIS
                    College Park, MD 20740-6001
                            202-741-5770
                            877-684-6448
                            ogis@nara.gov
                           ogis.archives.gov

                                             Sincerely,


                                             Jeremy Woods
                                             Disclosure Manager
                                             Disclosure Office 13
